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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                   :          Date of Notice: March 3, 2021
                                            :
              vs.                           :          FILED UNDER SEAL
                                            :
 JUSTIN DAVID MAY                           :          Criminal No. 18-26-01
 USM NO. 76415-066                                                  19-417-01

                                 NEW DATE & TIME
               TAKE NOTICE that the above-entitled case has been set for a SENTENCING on
 THURSDAY JUNE 3, 2021 at 10:00 a.m. in the United States District Court, United States
 Courthouse, 601 Market Street, Philadelphia, Pennsylvania, before the Honorable Joel H.
 Slomsky , in Courtroom 13A, 13th floor.

           ALL DEFENDANTS ARE DIRECTED TO REPORT TO THE COURTROOM
 ON THE DATE AND TIME STATED ABOVE. IF A DEFENDANT FAILS TO APPEAR AS
 DIRECTED, THE BAIL MAY BE FORFEITED AND A BENCH WARRANT ISSUED.



  INTERPRETER REQUIRED
 XX THIS PROCEEDING HAS BEEN RESCHEDULED FROM, MARCH 8, 2021

                                        Very truly yours,


                                       S/ Matthew J. Higgins
                                       Matthew J. Higgins
                                       Deputy Clerk to Judge Slomsky


Notice to:
N. TAYLOR-SMITH, Esq., Defense Counsel,
M. LOWE, A.U.S.A.
U.S. Marshal
M. MAIER, Probation Office
B. BROOKS, Pretrial Services
Crystal Wardlaw
